Case 5:15-cr-00392-OLG   Document 821   Filed 10/24/24    Page 1 of 4

                                                                   FILED
                                                              October 24, 2024
                                                            CLERK, U.S. DISTRICT COURT
                                                            WESTERN DISTRICT OF TEXAS

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Case 5:15-cr-00392-OLG   Document 821   Filed 10/24/24   Page 2 of 4
Case 5:15-cr-00392-OLG   Document 821   Filed 10/24/24   Page 3 of 4
Case 5:15-cr-00392-OLG   Document 821   Filed 10/24/24   Page 4 of 4




                             24th           October
